904 F.2d 45
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Heinz HABER, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 89-1676.
    United States Court of Appeals, Federal Circuit.
    May 17, 1990.
    
      Before NIES and NEWMAN, Circuit Judges, and WILLIAM D. BROWNING,* Judge).
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Judge William D. Browning of the United States District Court for the District of Arizona, sitting by designation
      
    
    